Case 2:90-cv-00520-KJM-SCR   Document 3435   Filed 12/23/08   Page 1 of 7




                       EXHIBIT V
    Case 2:90-cv-00520-KJM-SCR                    Document 3435           Filed 12/23/08        Page 2 of 7



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               Attorneys for Sheriff, Police Chief, and
          8    Chief Probation Intervenor-Defendants
          9
     10                              IN THE UNITED STATES DISTRICT COURTS
     11                            FOR THE EASTERN DISTRICT OF CALIFORNIA
     12                           AND THE NORTHERN DISTRICT OF CALIFORNIA
     13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
     14                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
     15
              RALPH        COLEMAN, et al.,                     Case No: CIV S-90-0520 LKK JFM P
     16
                              Plaintiffs,                       THREE-JUDGE COURT
     17
     18
              ARNOLD        SCHWARZENEGGER, et
     19       al.,
    20                         Defendants..
    21
                                                                [F.R.C.P. 24;• i8 U.S.C. § 3626(a)(3)(F)]
    22
                                                                Case No.: C01-1351 TEH                     •.
              MARCIANO        PLATA, et al.,
                                                                THREE2JUDGE COURT
    24                        Plaintiffs;
                                                                INTERVENOR-DEFENDANT
    25               VS.                                       CALAVERAS COUNTY SHERIFF'S
                                                               .RESPONSES TO PLAINTIFFS' FIRST
    26        ARNOLD. SCHWARZENEGGER, et                        SET OF INTERROGATORIES
              al.,
    27
                              Defendants.
    28
                                                               =1-
              INTERVENOR-DEFENDANT •ALAVERASCOUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                    Document 3435           Filed 12/23/08        Page 3 of 7



       1   PROPOUNDING PARTIES:                    Plaintiffs, MARCIANO PLATA, et al.
      2    RESPONDING PARTY:                       Intervenor-Defendant, CALAVERAS COUNTY
      3                                            SHERIFF
      4    SET NUMBER:-                            One (1)
      5             TO ALL PARTIES AND TO THEIRCOUNSEL OF RECORD:
      6             Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant
      7    Calaveras County Sheriff separately.and        fuily responds to Plaintiffs' First Set of
      8    Interrogatories as follows:
      9                          ,preliminary Statement and General Objections
 10                  1.    Intervenor-Defendant has not completed investigation of the facts relating
 1!        to this case, has not completed discovery in this action and has not completed preparation

 12        for trial. Therefore, these responses, while based on diligent factual exploration, reflect
 13        only Intervenor-Defendant's current state of knowledge, understanding, and. belief with
 14        regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
           the right to supplement these responses with subsequently obtained or discovered
 16        information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 17        notwithstanding these answers and responses, to employ at trial or in any pretrial
 18        proceeding herein information subsequently obtained or discovered, information the
 19        materiality of which is not presently ascertained, or information Intervenor-Defendant
           does not regard as coming within the scope of the interrogatories as Intervenor-Defendan
 21        understands them.
 22.                2.     These responses are made solely for the purpose of this action. Each
 23.       answer    is subject to all objections as to competence, relevance, materiality, propriety,
 24        admissibility; privacy, privilege, and any and all other objections that would require
 25        exclusion of any statement contained herein if any such interrogatories were asked of, or
 26        any statement contained herein if any such interrogatories were asked of, or any
 27        -statement contained herein were made by, a witness present and testifying in court, all of
 28        which objections and grounds are reserved and may be interposed at the time of trial.
                                                             -2-
           INTERVENOR-DEFENDANT CALAVERAS COUNTY SHERIFF,S RESPONSES TO PLAINTIFFs' FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                    Document 3435              Filed 12/23/08      Page 4 of 7



      1              3.  Except for explicit facts admitted herein, no incidental or implied
      2   admissions are intended hereby. Intervenor-Defendant's answers or objections to any
      3   interrogatory are not an admission of any fact Set forth or assumed by that interrogatory.
 -4       In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
      5   interrogatory is not a waiver of part or all of any objection he might make to that
      6   interrogatory, or an admission that such answer or objection constitutes admissible
      7   evidence. Intervenor-Defendant asserts these objections without waiving or intending to
      8   waive any objections as to competency, relevancy• materiality or privilege,
      9              4.    To the extent Intervenor-Defendant responds to these           interrogatories, the
 I0       responses will not include informationprotected by the. right of privacy. All objections
 11       on    the grounds of constitutional and common law privacy rights are expressly preserved.
 12                  5.     Intervenor-Defendant objects to each and every Interrogatory to the extent
 13       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 14       this action nor reasonably calculated to lead to the discovery of admissible, evidence.
 15                  6.    Intervenor-Defendant objects to the Interrogatories to the extent that they
 16       are   vague and ambiguous and do not include adequate def'mition, specificity, or limiting
 17       factors.
 18                  7.    Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 19       the term "PERSON." The definition is vague, ambiguous, and overbroad as used in these
 20       Interrogatories.
 21               Subject to and without waiving the foregoing objections, and incorporating them.
          by reference into each of the responses provided below, Intervenor-Defendant hereby
 23       responds as follows:
 24       INTERROGATORY NO. 1:
 25                        t, 1995 until the present, have any limit(s)been in place, as the
                     From January
 26 result of any lawsuit, on the number of people that can be housed in any jail Operated
 27       and/or maintained by YOU? If so:
 28                        (a)      State the name, date and     case   number of every case which resulted ir
                                                           r3-
          INTERvENOR-DEFENDANT CALAVERAS COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                            Document 3435        Filed 12/23/08        Page 5 of 7



                any such limit(s).
          2     RESPONSE TO INTERROGATORY NO. 1:
          3                   In addition to the General Objections stated above, Intervenor-Defendant objects
          4     to thisinterrogatory on the grounds that it is vague, ambiguous and overbroad; to the
          5     extent that it seeks information not relevant to this litigation nor reasonably calculated to
          6    lead to the discovery of admissible evidence.
          7            Without waiving and subject to the objections, Intervenor-Defendant responds that
          8    from January 1, 1995 until present, limits have been in place as a result of: County of
      9        Calaveras v. Sheriff Bill Nuttall, Declaratory Judgment, Case No. 17842 dated January
     10        24, 1992; County of Calaveras v. Sheriff Bill Nuttall, Amended Declaratory Judgment,
     11        Case No. 17842 dated October 13, 1994; .County of Calaveras v. Sheriff Bill Nuttall,
     12        Stipulation for Modification of Judgment, Case No. 17842 dated January 24, 1992.
     13        INTERROGATORY NO. 2:
 14                       In any instance, from January    i, 1995 until the present, in which any limit(s) have
 15            been. in place on the number of people that can be housed in any jail operated and/or
 16            maintained by YOU, what mechanisms were used to comply with those limits?
 17                       •         (a)    Identify all DOCUMENTS which relate to YOUR answer.
 18                                 (b)    Identify all PERSONS whom YOU believe or suspect have
 19           information to support YOUR answer.
20            RESPONSE TO INTERROGATORY                   NO• 2:
21                    In addition to the General Objections stated above, Intervenor-Defendant objects
22            to this interrogatory on the grounds that it is vague, ambiguous and overbroad;
                                                                                                 to the
23            extent that it seeks information not relevant to this litigation nor reasonably calculated
                                                                                                         to
24            lead to the discovery of admissible evidence.
25                     Without waiving and subject to the objections, Intervenor-Defendant responds that
26            from January 1, 1995 until present, there have been limits in place
                                                                                  on the number of
27            people that can be housed in any jail operated and/or maintained by Inter;eenl
28            as a
                     result of County of Calaveras v. Sheriff Bill Nuttall, Case No. 17842 dated January

              INTERVENOR-DEFENDANT CALAVERAS COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST
                                                                                             SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                             Document 3435         Filed 12/23/08       Page 6 of 7


                   24, 1992.
          2                   (a)  County of Calaveras v. Sheriff Bill Nuttall, Declaratory Judgment, Case
          3        No. 17842 dated January 24, 1992; County of Calaveras v. sheriffBiI1Nuttall,
          4        Declaratory Judgement, Case No. 17842 dated October 13, 1994; County of Calaveras v.
          5        sheriff Bill Nuttall, Stipulation for Modification of Judgement, Case No. 17842 dated
          6        January 24, 1992.
          7                (b) Honorable Judge Douglas V. Mewhinney, Honorable Judge Orrin K.
          8        Airola, (deceased), Calaveras County Board of Supervisors, Calaveras County Counsel,
      9            Sheriff BillNuttall, and Sheriff Dennis Downum.
     10            !NTER_R_OGATORY NO.
     11                      From January 1, 1995 until present, how many people have had their releases
     12            any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
 13                on   the number ofpeople that can be housed in that jail?
 14                                 (a)     Identify all DOCUMENTS which relate to YOUR answer.
 15                                 (b)     Identify all PERSONS whom YOU believe or suspect have
 16               information to support YOUR answer.
 17               RESPONSE TO INTERROGATORY NO. 3:
 18                         In addition to the General Objections stated above, Intervenor-Defendant objects
 19               to this   interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
20                extent that it seeks    information not relevant to this litigation nor reasonably calculated to
21                lead to the discovery of admissible evidence.
22                          Without waiving and subject to the objections, Intervenor-Defendant responds that
23                from January      1, 1995 until present, 7, 537 inmates have had their release accelerated as a
24            result of limits placed on the number of people that can be housed in the county's jails.
25                          (a)
                            Reports assembled using Crystal Reports Software from data bases
26            contained within Visionair Jail Management Software.
27                   (b) Debby Parsons
28            /

              INTERVENOR-DgYENDANT CALAVERAS COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'
                                                                                         FIRST SET OFINTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                              Document 3435          Filed 12/23/08           Page 7 of 7


                    INTERROGATORY NO. 4:
              2             What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
          3        January 1, 1995 until present, in. any county in which YOU operate and/or maintain a
          4        jail?
          5                     (a) For each such program, describe the mission and/or purpose of the
          6        placement program.
          7                      (b) For each such program, identify what criteria are used to decide whc
          8        may enter the   .program.
          9                        (c)     Identify all DOCUMENTS which relate to YOUR answer.
     10                            (d)     Identify all PERSONS whom YOU believe or suspect have
     11            information to support YOUR answer.
     12            RESPONSE TO INTERROGATORY NO. 4:
     13                 In addition to the General Objections stated above, Intervenor-Defendant objects
     14            to this interrogatory   on   the grounds that it is vague, ambiguous and overbroad; to the
     15            extent that it seeks information not relevant to this litigation             reasonably calculated to
                                                                                          nor
 16                lead to the discovery of admissible evidence.
 17                       Without waiving and subject to the objections, Intervenor-Defendant responds that
 18               from January 1, 1995 until present, there have been
                                                                      no ALTERNATIVE PLACEMENT
 19               PROGRAMS in existence in an3, jail operated and/or maintained by Intervenor-
20                Defendant.
21
22
23
24
                  DATED:       April 11, 2008
                                                                         •
                                                                 Respectfully submitted,
                                                                 JONES & MAYER


                                                                 By:
25
                                                                         Ivy M. Tsai  •

26                                                                       Attorneys for Sheriff, Probation, Police
                                                                         Chief, and Corrections Intervenor-
27                                                                       Defendants
28
                                                                   -6-
                  INTERVENOR-DEFENDANT CALAVERAS COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS"
                                                                                           FIRST SETOF INTERROGATORIES
